Case 1:19-cr-00077-JB-SMV Document 283 Filed 12/15/21 Page 1 of 7




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Case 1:19-cr-00077-JB-SMV Document 283 Filed 12/15/21 Page 4 of 7




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Case 1:19-cr-00077-JB-SMV Document 283 Filed 12/15/21 Page 7 of 7




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